     Case 2:12-cr-00016-WFN   ECF No. 182   filed 05/23/12   PageID.456 Page 1 of 1




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 5                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6
 7     UNITED STATES OF AMERICA,            )   No. CR-12-016-WFN-3
                                            )
 8              Plaintiff,                  )   ORDER FOLLOWING STATUS
                                            )   CONFERENCE AND GRANTING
 9     v.                                   )   ORAL MOTION TO MODIFY
                                            )
10     COREY E. MOBLEY,                     )
                                            )
11              Defendant.                  )
                                            )
12                                          )
                                            )
13                                          )

14          The Defendant’s unopposed oral Motion to modify conditions of

15    release (ECF No. 180) to allow Defendant additional time with his

16    significant other and her child is              GRANTED.       The supervising

17    Pretrial Services Officer is given discretion to permit Defendant

18    this additional time as the Officer deems appropriate.

19          IT IS SO ORDERED.

20          DATED May 23, 2012.

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22                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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28
      ORDER FOLLOWING STATUS CONFERENCE AND
      GRANTING ORAL MOTION TO MODIFY - 1
